      Case 1-18-45814-ess             Doc 36      Filed 01/22/19      Entered 01/23/19 19:05:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
BROOKLYN DIVISION
------------------------------------------------------- X
In re:
                                                            Chapter: 7
Galo Montesdeoca,                                           Case No.: 18-45814-ESS
                                         Debtor.            Judge: Hon. Elizabeth S. Stong
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                  ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
                      PURSUANT TO 11 U.S.C. § 362(d)(1) AND (d)(2)

        On January 10, 2019, the Motion for Relief from the Automatic Stay (the “Motion”) of
Wells Fargo Bank, National Association, as Trustee For Securitized Asset Backed Receivables
LLC 2005-FR5 Mortgage Pass-Through Certificates, Series 2005-FR5 as serviced by Nationstar
Mortgage LLC d/b/a Mr. Cooper ("Movant"), dated, October 25, 2018 came before the Court, for
relief from the automatic stay with respect to the collateral known as 1101 Greene Avenue,
Brooklyn, NY 11221 (the "Collateral"), this Court having considered the evidence presented and
the arguments of the parties, and with good cause appearing therefore, it is hereby

        ORDERED, that the automatic stay in effect pursuant to 11 U.S.C. section 362(a), is
hereby terminated modified pursuant to 11 U.S.C. § 362(d)(1) for failure to make adequate
protection payments on and 11 U.S.C. § 362(d)(1) for lack of equity in the Collateral as to Movant,
its agents, assigns or successors in interest, so that Movant, its agents, assigns or successors in
interest, may pursue its rights take any and all action under applicable state law to exercise its
remedies against with respect to the Collateral.; and it is further
        ORDERED that in the event this case is converted to a case under any other chapter of the
U.S. Bankruptcy Code, this Order will remain in full force and effect; and it is further
        ORDERED that upon the commencement of a foreclosure proceeding against the Debtor,
the Trustee and his counsel shall be served with a copy of the Summons and Complaint and Notice
of Pendency of Action.; and it is further
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       ORDERED that Movant may take such actions with respect to the real property described
above as are set forth under applicable non-bankruptcy law including but not limited to
modification, short sale, or other loss mitigation options.




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 Dated: Brooklyn, New York                                            Elizabeth S. Stong
        January 22, 2019                                       United States Bankruptcy Judge
